               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION

                    CRIMINAL CASE NO. 1:09-cr-13-9


UNITED STATES OF AMERICA,                  )
                                           )
                  vs.                      )    ORDER
                                           )
YVONNE MARIE FOUNTAIN.                     )
                                           )
                                          )

     THIS MATTER is before the Court on the Defendant’s DePierre Claim

pursuant to 28 U.S.C. §2255(f)(3) and 21 U.S.C. §841(b)(1) [Doc. 638].

      The Defendant, who filed this motion in her criminal case, has cited 28

U.S.C. §2255(f), the statute which provides the time limits for filing a motion

pursuant to §2255 to vacate, set aside or correct sentence. She has also

cited the statute which criminalizes possession with intent to distribute

controlled substances, 21 U.S.C. §841. It therefore appears that the

Defendant may intend to bring an action pursuant to 28 U.S.C. §2255 to

vacate, set aside or correct her conviction and sentence based on the case

of DePierre v. United States,     U.S.     , 131 S.Ct. 2225, 180 L.Ed.2d 114

(2011).

      The Court will thus provide the Defendant with notice, pursuant to

Castro v. United States, 540 U.S. 375, 124 S.Ct. 786, 157 L.Ed.2d 778 (2003),



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that it intends to recharacterize this motion as an attempt to file a motion

pursuant to 28 U.S.C. §2255. The Defendant is provided an opportunity to

advise the Court whether she agrees or disagrees with this recharacterization

of the motion.

      Before making this decision, the Defendant should consider that if the

Court construes this motion as one brought pursuant to §2255, it will be her

first §2255 petition which will mean that before she can thereafter file a

second or successive §2255 petition, the Defendant must receive certification

from the United States Court of Appeals for the Fourth Circuit.

      Moreover, in determining whether the Defendant agrees or disagrees

with this recharacterization, she should consider that the law imposes a one

year statute of limitations on the right to bring a motion pursuant to §2255.

This one year period begins to run at the latest of:

            1.    the date on which the judgment of conviction became
                  final;

            2.    The date on which the impediment to making a motion
                  created by governmental action in violation of the
                  Constitution or laws of the United States is removed,
                  if movant was prevented from making a motion by
                  such governmental action;

            3.    the date on which the right asserted was initially
                  recognized by the Supreme Court, if that right has
                  been newly recognized by the Supreme Court and
                  made retroactively applicable to cases on collateral
                  review; or



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            4.    the date on which the facts supporting the claim or
                  claims presented could have been discovered through
                  the exercise of due diligence.

28 U.S.C. §2255(f).

      The Defendant may respond on or before 30 days from service of this

Order. If the Defendant timely responds to this Order and does not agree to

have the motion recharacterized as one under §2255, the Court will rule on

the merits of the motion as one brought pursuant to DePierre, supra.

      If the Defendant fails to respond to this Order or agrees to have the

motion recharacterized as one pursuant to §2255, the Court will consider the

motion pursuant to §2255 and shall consider it filed as of the date the original

motion was filed. If the Defendant agrees to have the motion considered as

one pursuant to §2255, the Court will provide a time within which an

amendment to the motion to the extent permitted by law may be filed.

      IT IS, THEREFORE, ORDERED that the Defendant may comply with

the provisions of this Order by written filing on or before thirty (30) days from

service of this Order.

                                        Signed: July 2, 2012




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